                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

                                   No. 7:20-cr-00048-D-1

  UNITED STATES OF AMERICA
                                                             ORDER TO SEAL
      v.

  ANDRE TOON



       On motion of the Defendant, Andre Toon, and for good cause shown, it is hereby

ORDERED that [DE 34] be sealed until otherwise ordered by the Court, except that copies may

be provided to the United States Attorney's Office and Counsel for the above-named Defendant.

       IT IS SO ORDERED.

       This -1.!:_ day of January, 2021.




                                    United States District Judge




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